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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      District of South Carolina


              William Anthony Williams,                           )
                           Petitioner                             )
                               v.                                 )       Civil Action No.      1:20-cv-01484-TMC
                South Carolina, State of.                         )
                          Respondent                              )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the petitioner (name)            recover from the respondent (name)             the amount of
dollars ($ ), which includes prejudgment interest at the rate of   %, plus postjudgment interest at the rate of
      %, along with costs.

’ the petitioner recover nothing, the action be dismissed on the merits, and the respondent (name)
           recover costs from the petitioner (name)                       .

O the petitioner, William Anthony Williams, shall take nothing of the respondent, South Carolina, State of,
and this action is dismissed without prejudice.

This action was (check one):

’ tried by a jury, the Honorable                              presiding, and the jury has rendered a verdict.

’ tried by the Honorable                            presiding, without a jury and the above decision was reached.


O decided by the Honorable Timothy M. Cain, United States District Judge, presiding. The Court having
dismissed this action without prejudice.


Date: September 18, 2020                                                 ROBIN L. BLUME, CLERK OF COURT

                                                                                               s/L. Baker
                                                                                     Signature of Clerk or Deputy Clerk
